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                               NOT FOR PUBLICATION                           FILED
                        UNITED STATES COURT OF APPEALS                        AUG 3 2015
                                                                         MOLLY C. DWYER, CLERK
                                                                           U.S. COURT OF APPEALS
                               FOR THE NINTH CIRCUIT


 WINDY PAYNE, individually and as                    No. 13-35921
 guardian on behalf of D.P., a minor child,
                                                     D.C. No. 3:05-cv-05780-RBL
                  Plaintiff - Appellee,

   v.                                                MEMORANDUM*

 PENINSULA SCHOOL DISTRICT,

                  Defendant,

 And

 JODI COY,

                  Defendant - Appellant.

                       Appeal from the United States District Court
                         for the Western District of Washington
                       Ronald B. Leighton, District Judge, Presiding

                           Argued and Submitted July 10, 2015
                                  Seattle, Washington

Before: NGUYEN and FRIEDLAND, Circuit Judges and ZOUHARY, ** District
Judge.

        *
             This disposition is not appropriate for publication and is not precedent
except as provided by 9th Cir. R. 36-3.
        **
             The Honorable Jack Zouhary, District Judge for the U.S. District Court
for the Northern District of Ohio, sitting by designation.
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      Jodi Coy appeals the district court’s denial of summary judgment and

qualified immunity. We have jurisdiction under 28 U.S.C. § 1291. Reviewing de

novo, Preschooler II v. Clark Cty. Sch. Bd. Of Trs., 479 F.3d 1175, 1179 (9th Cir.

2007), we reverse. The case is remanded for further proceedings on Plaintiff’s

remaining Monell and state law claims.

      Coy is entitled to qualified immunity with respect to Plaintiff’s Fourth

Amendment claim because, at the time she acted, it would not have been clear to a

reasonable official that placing D.P. in the safe room, as part of his aversive and

behavioral intervention plan, was an unconstitutional seizure. See Ashcroft v. al-

Kidd, 131 S. Ct. 2074, 2083–85 (2011); Couture v. Bd. of Educ. of Albuquerque Pub.

Sch., 535 F.3d 1243 (10th Cir. 2008); Wash. Admin. Code § 392-172-394 (2005).

      Likewise, Coy is entitled to qualified immunity with respect to Plaintiff’s

Fourteenth Amendment claim because, at the time Coy acted, it would not have been

clear to a reasonable official that having D.P. assist in cleaning up after he defecated

in the safe room violated D.P.’s substantive due process rights. See Harris v.

Robinson, 273 F.3d 927, 931–32 (10th Cir. 2001).

      REVERSED AND REMANDED.




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